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Procedures”’, prior to any FAA final
regulatory action.

Lists of Subjects in 14 CFR Part 71

Airspace, Incorporation by reference,
Navigation (air).

The Proposed Amendment

In consideration of the foregoing, the
Federal Aviation Administration
proposes to amend 14 CFR part 71 as
follows:

PART 71—DESIGNATION OF CLASS A,
B, C, D, AND E AIRSPACE AREAS; AIR
TRAFFIC SERVICE ROUTES; AND
REPORTING POINTS

g 1. The authority citation for part 71
continues to read as follows:

Authority: 49 U.S.C. 106(f), 106(g); 40103,
40113, 40120; E.O, 10854, 24 FR 9565, 3 CFR,
1959-1963 Comp., p. 389.

§71.1 [Amended]

g 2. The incorporation by reference in
14 CFR 71.1 of Federal Aviation
Administration Order 7400,11E,
Airspace Designations and Reporting
Points, dated July 21, 2020, and
effective September 15, 2020, is
amended as follows:

Paragraph 6005 Class E Airspace Areas
Extending Upward From 700 Feet or More
Above the Surface of the Earth.

* * * * *

ASO ALES Tuscaloosa, AL [Amend]

Tuscaloosa National Airport, AL

(Lat. 33°13'14” N, long. 87°36'41” W)

That airspace extending upward from 700
feet above the surface within a 9.4-mile
radius of Tuscaloosa National Airport and
within 4.0 miles each side of the 117° bearing
from the airport extending from the 9.4-mile
radius to 11.8 miles southeast of the airport
and within 2.0 miles each side of the of the
041° bearing extending from the 9.4-mile
radius to 11.5 miles northeast of the airport
and within 4.0 miles each side of the 296°
bearing extending from the 9.4-mile radius to
10.8 miles northwest of the airport and
within 2.0 miles each side of the 221° bearing
extending from the 9.4-mile radius to 11.8
miles southwest of the airport.

Issued in College Park, Georgia, on June 21,
2021,
Andreese C. Davis,

Manager, Airspace & Procedures Team South,
Eastern Service Center, Air Traffic
Organization.

[FR Doc. 2021-13492 Filed 6-24-21; 8:45 am]

BILLING CODE 4910-13-P

DEPARTMENT OF HOUSING AND
URBAN DEVELOPMENT

24 CFR Part 100
[Docket No. FR-6251-P-01]
RIN 2529-AB02

Reinstatement of HUD’s Discriminatory
Effects Standard

AGENCY: Office of the Assistant
Secretary for Fair Housing and Equal
Opportunity, HUD.

ACTION: Proposed rule.

SUMMARY: In 2020, HUD published a
tule titled “HUD’s Implementation of
the Fair Housing Act’s Disparate Impact
Standard” (2020 Rule’). Prior to the
effective date of the 2020 rule, the U.S.
District Court for the District of
Massachusetts issued a preliminary
injunction in Massachusetts Fair
Housing Center v. HUD, staying HUD’s
implementation and enforcement of the
tule. Consequently, the 2020 Rule never
took effect. After reconsidering the 2020
Rule, HUD is proposing to recodify its
previously promulgated rule titled,
“Implementation of the Fair Housing
Act’s Discriminatory Effects Standard”
(2013 Rule’), which, as of the date of
publication of this Proposed Rule,
remains in effect due to the preliminary
injunction. HUD believes the 2013 Rule
better states Fair Housing Act
jurisprudence and is more consistent
with the Fair Housing Act’s remedial
purposes.

DATES: Comment due date: August 24,
2021.

ADDRESSES: Interested persons are
invited to submit written comments
regarding this rule to the Regulations
Division, Office of General Counsel,
Department of Housing and Urban
Development, 451 7th Street SW, Room
10276, Washington, DC 20410. All
communications should refer to the
above docket number and title. There
are two methods for submitting public
comments.

1, Electronic Submission of
Comments. Interested persons may
submit comments electronically through
the Federal eRulemaking Portal at
www.regulations.gov. HUD strongly
encourages commenters to submit
comments electronically. Electronic
submission of comments allows the
commenter maximum time to prepare
and submit a comment, ensures timely
receipt by HUD, and enables HUD to
make them immediately available to the
public. Comments submitted
electronically through the
www.regulations.gov website can be

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viewed by other commenters and
interested members of the public.
Commenters should follow the
instructions provided on that site to
submit comments electronically.

2. Submission of Comments by Mail.
Comments may be submitted by mail to
the Regulations Division, Office of
General Counsel, Department of
Housing and Urban Development, 451
7th Street SW, Room 10276,
Washington, DC 20410-0500.

Note: To receive consideration as
public comments, comments must be
submitted through one of the two
methods specified above. Again, all
submissions must refer to the docket
number and title of the rule.

No Facsimile Comments. Facsimile
(FAX) comments are not acceptable.

Public Inspection of Public
Comments. All properly submitted
comments and communications
submitted to HUD will be available for
public inspection and copying between
8 a.m. and 5 p.m. weekdays at the above
address. Due to security measures at the
HUD Headquarters building, an
appointment to review the public
comments must be scheduled in
advance by calling the Regulations
Division at 202-708-3055 (this is not a
toll-free number). Individuals with
speech or hearing impairments may
access this number via TTY by calling
the Federal Relay Service at 800-877—
8339. Copies of all comments submitted
are available for inspection and
downloading at www.regulations.gov.
FOR FURTHER INFORMATION CONTACT:
Kathleen M. Pennington, Acting
Associate General Counsel for Fair
Housing, Office of General Counsel, U.S.
Department of Housing and Urban
Development, 451 7th Street 5W,
Washington, DC 20410-0500, email
HUDDisparatelmpact202 1 @hud.gov or
telephone number 202-402-3330 (this
is not a toll-free number). Persons with
hearing and speech impairments may
contact this phone number via TTY by
calling the Federal Relay Service at 800-
877-8399 (this is a toll-free number).
SUPPLEMENTARY INFORMATION:

I. Background

Title VIII of the Civil Rights Act of
1968, as amended ("Fair Housing Act”
or “Act’’), prohibits discrimination in
the sale, rental, or financing of
dwellings and in other housing-related
activities because of race, color, religion,
sex, disability, familial status, or
national origin.! Through the Fair

142 U.S.C, 3601-3619, 3631. This preamble uses
the term “‘disability”’ to refer to what the Act and
its implementing regulations term a “handicap”
because that is the preferred term. See, e.g., Hunt
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Housing Act, Congress codified its
remedial purpose, providing that “Tilt is
the policy of the United States ta
provide, within constitutional
limitations, for fair housing throughout
the United States.” 2 The Act’s
protections are meant to be “broad and
inclusive.” ? Congress passed the Act in
the wake of the assassination of Dr.
Martin Luther King, Jr., recognizing that
“residential segregation and unequal
housing and economic conditions in the
inner cities” were “significant,
underlying causes of the social unrest’’ +
and that both open and covert race
discrimination were preventing
integrated communities.’ As the
Supreme Court reiterated more recently,
the Act’s expansive purpose is ta
“eradicate discriminatory practices
within a sector of the Nation’s
economy” and to combat and prevent
segregation and discrimination in
housing.® Congress considered the
realization of this policy ‘‘to be of the
highest priority.” 7

The Act gives HUD the authority and
responsibility for administering and
enforcing the Act, including the
authority to conduct formal
adjudications of complaints and to
promulgate rules to interpret and carry
out the Act.? Through that authority,
HUD proposes this rulemaking.

Discriminatory Effects Law Under the
Fair Housing Act Prior to HUD’s 2013
Rule

HUD’s 2013 Rule broke no new
ground, but instead largely codified
longstanding judicial and agency
consensus regarding discriminatory
effects law. Courts had long found that
discrimination under the Act may be
established through evidence of
discriminatory effects, r.e., facially
neutral practices with an unjustified
discriminatory effect. Indeed, all federal
courts of appeals ta have addressed the
question had held that liability under
the Act could be established by a
showing that a neutral policy or practice
either has a disparate impact on a
protected group or creates, perpetuates,
or increases segregation, even if such a

vy. Aimco Props., L.P., 14 F.3d 1213, n.1 (11th Cir.
2016) (noting the term disability is generally
preferred over hanclicap).

242 U.S.C. 3601.

® Trafficante v. Metro. Life Ins. Co., 409 U.S. 205,
209 (1972).

4 Tex. Dep’t of Hous. & Cmty. Affairs v. Inclusive
Cmitye. Project, inc., 576 U.S. 519, 529 (2015) (citing
Report of the National Advisory Commission on
Civil Disorders 91 (1968) (Kerner Commission
Report).

© fd. at 529 (citing Kemer Commission Report).

® Id. at 539.

? Trafficante, 409 U.S, at 211 (1972).

® See 42 U.S.C. 3608(a), 3612, 3614a.

policy or practice was not adopted for
a discriminatory purpose.® As the Sixth
Circuit explained, the Act “proscribes
not only overt discrimination but also
practices that are fair in form, but
discriminatory in operation,” 1°

HUD had for decades—consistent
with this judicial consensus—
concluded that facially neutral practices
that have an unjustified discriminatory
effect on the basis of a protected
characteristic, regardless of intent,
violate the Act.1! For example, in 1994,
HUD, along with nine other agencies
and the Department of Justice, issued a
joint policy statement that recognized
disparate impact liability under the
Act.14

Although there had been some minor
variation in the application of the
discriminatory effects framework prior
to the 2013 Rule, HUD and the federal
appellate courts were largely in
agreement. HUD has always used a
three-step burden-shifting approach,!*

9 See, 6.g., Graoch Assocs. # 33, L.P.v. Louisvilles
Jefferson County Metro Human Helations Comm'n,
508 F.3d 366, 378 (6th Cir. 2007) (citing Arthur v.
City of Toledo, 782 F.2d 565, 575 (6th Cir. 1986));
Hallmark Developers, Inc. v. Fulton County, Ga.,
466 F.3d 1276, 1286 (11th Cir. 2006) (citing Heus.
Investors, Inc. v. City of Clanton, Ala., 68 F. Supp.
2d 1287, 1298 (M.D. Ala. 1999)): Huntington
Branch, NAACP v. Town of Huntington, 844 F.2d
926, 937 (2nd Cir. 1988) (citing Metro Hous. Dev.
Corp. v. Vill. of Arlington Heights, 558 F.2d 1283,
1290 (7th Cir, 1977), aff'd, 488 U.S. 15 (1988) (per
curium); Betsey v. Turtle Creek Assocs., 736 F.2d
983, 987 n.3 (4th Cir. 1984) (citing Metro Hous. Dev.
Corp v. Vill. of Arlington Heights, 558 F.2d 1283,
1290 (7th Cir. 1977)); Metro. Housing Dev. Corp. v.
Village of Arlington Heights, 558 F.2d 1283, 1290
(7th Cir. 1977) (citing Trafficanie v. Metropolitan
Life Ins. Go., 409 U.S. 205, 209-10 (1972)); Untied
States. v. City of Black Jack, Missouri, 508 F. 2d
1179, 1184-86 (8th Cir, 1974).

10 Graoch Assocs. #32, L.P., 508 F.3d at 374
(quoting Griggs v. Duke Power Co., 401 U.S, 424,
431 (1971) (a Title VII case)).

1178 FR, 11460, 11461 (Feb. 15, 2013) (citing, e.g.
HUD v. Twinbrook Village Apis., No. 02—00025600—
0256-8, 2001 WL 1632533, at *17 (HUD ALJ Nov.
9, 2001) (“A violation of the [Act] may be premised
on a theory of disparate impact.’’); HUD v. Carlson,
No. 08-91-0077-1, 1995 WL 365009 (HUD AL]
June 12, 1995) (“A policy or practice that is neutral
on its face may be found to be violative of the Act
if the record establishes a prima facie case that the
policy or practice has a disparate impact on
members of a protected class, and the Respondent
cannot prove that the policy is justified by business
necessity.””); HUD v. Hoss, No. 01-92-0466-18,
1994 WL 326437, at *5 (HUD ALJ July 7, 1994)
(“Absent a showing of business necessity, facially
neutral policies which have a discriminatory
impact on a protected class violate the Act.”); HUD
v. Carier, No. 03-90—0058—-1, 1992 WL 406520, at
*5 (HUD ALJ May 1, 1992) (“The application of the
discriminatory effects standard in cases under the
Fair Housing Act is well established.”).

1278 FR 11460, 11461 (citing Policy Statement on
Discrimination in Lending, 59 FR 18266, 18269
(Apr. 15, 1994).

18 See, e.g., HUD v. Pfaff, 1994 WL 592199, at *8
(HUD ALJ Oct. 27, 1994); HUD v. Mountain Side
Mobile Estates P’ship, 1993 WL 367102, at *6 (HUD
ALJ Sept. 20, 1993); HUD v. Carter, 1992 WL
406520, at *6 (HUD ALJ May 1, 1992); Twinbrook

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as did many federal courts of appeals
prior to the 2013 Rule.14 Thus, HUD’s
2013 Rule simply codified a familiar
standard.

HUD's 2013 Discriminatory Effects Rule

In February 2013, after notice and
public comment, and taking decades of
caselaw into consideration, HUD
published the 2013 Rule, which
“formalize[d] its long-held recognition
of discriminatory effects liability under
the Act and, for purposes of providing
consistency nationwide, formalize[d] a
burden-shifting test for determining
whether a given practice has an
unjustified discriminatory effect,
leading to liability under the Act.’ 15 In
promulgating the 2013 Rule, HUD noted
the Act’s “broad remedial intent;’’ 16
HUD’s prior positions, including that
discriminatory effects liability was
“imperative to the success of the civil
rights law enforcement;”’ !7 and the
consistent application of discriminatory
effects liability in the four previous
decades (with minor variations) by
HUD, the Department of Justice, nine
other federal agencies, and federal
courts.18

Among other things, the 2013 Rule
codified a three-part burden-shifting
framework consistent with frameworks
on which HUD and courts had long
relied: (1) The plaintiff or charging party
is first required to prove as part of the
prima facie showing that a challenged
practice caused or predictably will
cause a discriminatory effect; (2) if the
plaintiff or charging party makes this
prima facie showing, the defendant or
respondent must then prove that the
challenged practice is necessary to
achieve one or more substantial,

Village Apis., 2001 WL 1632533, at *17 (HUD ALJ
Nov. 9, 2001); see also Policy Statement on
Discrimination in Lending, 59 FR. 18266, 18269
(Apr. 15, 1994) (applying three-step test without
specifying where the burden lies at each step).

14 See, e.g., Oti Kaga, Inc. v. S. Dakota Hous. Dev.
Auth., 342 F.3d 871, 883 (8th Cir. 2003); Lapid
-Laurel, L.L.C. v. Zoning Bd. of Adjustment, 284
F.3d 442, 466-67 (3d Cir. 2002); Langlois v.
Abingion Hous. Auth., 207 F.3d 43, 49-50 (1st Cir.
2000); Huntingion Branch NAACP vy. Town of
Huntington, 844 F.2d 926, 939 (2d Cir. 1988).

15 78 FR 11460.

16 See also 2011 Notice of Proposed Rulemaking,
76 FR 70911, 70922 (Nov. 16, 2011) (“In keeping
with the ‘broad remedial intent’ of Congress in
passing the Fair Housing Act, and consequently the
Act’s entitlement to a ‘generous construction’ HUD
. . . has repeatedly determined that the Fair
Housing Act is directed to the consequences of
housing practices, not simply their purpose.”’)
(citing Havens Realiyv. Coleman, 455 U.S. 363, 380
(1982); City of Edmonds v. Oxferd House, Inc., 514
U.S, 725, 731-732 (1995) (internal citations
removed)).

1778 FR 11460, 11461 (citing 126 Cong. Rec.
31,166-—31,167 (1980) (statement of Sen. Mathias
reading into the record letter of HUD Secretary)).

1878 FR 11460, 1146162.
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legitimate, nondiscriminatory interests
of the defendant or respondent; and (3)
if the defendant or respondent meets its
burden at step two, the plaintiff or
charging party may still prevail by
proving that the substantial, legitimate,
nondiscriminatory interests supporting
the challenged practice could be served
by another practice that has a less
discriminatory effect.'9

The 2015 Inclusive Communities
Supreme Court Decision

In 2015, the Supreme Court confirmed
that the Act provides for discriminatory
effects liability in Texas Department of
Housing and Community Affairs v.
Inchisive Communities Project, Inc.2°
The Court was asked to answer two
questions: (1) Whether disparate-impact
claims are cognizable under the Act,
and (2) if they are, what standards and
burdens of proof should apply??? The
Court declined to consider the second
question .22

The Court found that Congress’s use
of the phrase ‘‘otherwise make
unavailable” in § 804(a) and the term
“discriminate” in § 805(a) parallel
language that the Court had previously
held to provide for discriminatory
effects liability under other civil rights
statutes.22 Moreover, the Court held that
Congress’s 1988 amendment of the Act
without altering the relevant text of
§§ 804(a) or 805(a) indicated that
Congress “accepted and ratified the
unanimous [pre-1988] holdings of the
[clourts of [a]ppeals finding disparate-
impact liability.” 2* The Court further
held that Congress’s addition of
provisions that presuppose disparate
impact liability as part of the 1988
amendments further provided
“convincing confirmation of Congress’
understanding that disparate-impact

1978 FR 11460, 11482; see, e.g., Inclusive Cmtys.
Project, Inc., 576 U.S, at 527 (overviewing the 2013
Rule’s burden shifting framework).

20fnclusive Cmiys. Project, Inc., 576 U.S. at 519,
532-35,

21 See Petition for a Writ of Certiorari, in Tex.
Dep't of Hous. & Cmty. Affairs et al, v. Inclusive
Cmtys. Project, Inc., 573 U.S. 991, No. 13-1371,
2014 U.S. S. Ct. Briefs LEXIS 1848, at *9; See
Questions Presented in, Tex. Dep't of Hous. & Cmiy.
Affairs et al., v. Inclusive Cmiys Project, Inc., 573
U.S, 991, The United States Supreme Court 1, 1,
hitps://www.supremecourt gov/qp/13-01371qp. pdf.

22 Inclusive Cmtys. Project, Inc., 573 U.S. 991
(2014), 2014 U.S. LEXIS 4912 at *1 (“Petition for
writ of certiorari to the United States Court of
Appeals for the Fifth Circuit granted limited to
Question 1 presented by the petition.”’); See also
Questions Presented in, Inclusive Cmitys Project,
Inc., 573 U.S. 991, The United States Supreme
Court 1, 1, htips://www.supremecourt.gov/qp/13-
0137 1qp.pdf.

28 Inchisive Cmiys. Project, Inc., at 534 (citing
Griggs v. Duke Power Co., 401 U.S. 424 (1971); Bd.
of Educ. v. Harris, 444 U.S, 130 (1979); Smith v.
City of Jackson, 544 U.S. 228 (2005)).

24 Td. at 536.

liability exists under the FHA.” 25 The
Court further observed that disparate
impact claims are “consistent with the
FHA’s central purpose” of “‘eradicatling]
discriminatory practices within a sector
of our [nJation’s economy.” 26

As the Court recognized: “Much
progress remains to be made in our
Nation’s continuing struggle against
racial isolation. . . . But since the
passage of the Fair Housing Act in 1968
and against the backdrop of disparate-
impact liability in nearly every
jurisdiction, many cities have become
more diverse. The FHA must play an
important part in avoiding the Kerner
Commission’s grim prophecy that our
Nation is moving toward two societies,
one black, one white—separate and
unequal. The Court acknowledges the
Fair Housing Act’s continuing role in
moving the Nation toward a more
integrated society.” 2”

In reaching this holding, the Court
explained that from its first decision to
recognize disparate impact liability, in
Griggs v. Duke Power Co., it “put
important limits’ on the scope of
liability.28 For example, with respect to
employment discrimination claims
under Title VII of the Civil Rights Act,
Griggs explained that an employer can
justify a practice that has a disparate
impact with a ‘business necessity”
defense, such that Title VII “does not
prohibit hiring criteria with a ‘manifest
relationship’ to job performance.” 29
Similarly, after holding that the Act
provided for disparate impact liability,
the Inclusive Communities Court noted
that, under the Act, “disparate-impact
liability has always been properly
limited in key respects.” 3° Quoting
Griggs, the Court explained that it has
always been true that disparate impact
liability under the Act ‘mandates the
‘removal of artificial, arbitrary, and
unnecessary barriers,’ not the
displacement of valid governmental
policies.” #1

The Court then sketched out some of
these long-standing limitations on the
scope of disparate-impact liability,
including: (i) The requirement that
“housing authorities and private
developers [have] leeway to state and
explain the valid interest served by their
policies. . . analogous to the business
necessity standard under Title VII;’ and
(ii) the requirement that a “claim that
relies on a statistical disparity must fail

25d. at 537.

29 fd at 539 (citing 42 U.S.C. 3601).

27 fd.at 546—47 (internal citations and quotations
omitted).

287d. at 531.

29 fd, (quoting Griggs, 401 U.S. at 431-32).

20fd. at 540,

81 fd. (quoting Griggs, 401 U.S, at 431).

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if the plaintiff cannot point to a
defendant’s policy or policies causing
that disparity.” 32

HUD accounted for these same well-
settled limitations in the 2013 Rule,
which requires a charging party or
plaintiff to challenge a specific practice
causing the alleged discriminatory effect
and permits a defendant to defend a
practice that causes such an impact by
demonstrating that it is necessary to
achieve a substantial, legitimate,
nondiscriminatory interest. The Court
did not call into question the 2013
Rule’s framework for analyzing
discriminatory effects claims, nor did it
suggest that HUD should make any
modifications to that framework. To the
contrary, the Court cited HUD’s 2013
Rule multiple times with approval.??
For instance, the Court noted that the
burden-shifting framework of Griggs and
its progeny, adopted by HUD in the
2013 Rule, adequately balanced the
interests of plaintiffs and defendants by
giving housing providers the ability ‘to
state and explain the valid interest
served by their policies.” ®4 Multiple
courts have since read Inclusive
Communities as affirming or endorsing
the 2013 Rule’s burden-shifting test.?°

82 fd. at 541, 542,

88 fd. at 527 (explaining the 2013 Rule, its burden
shifting framework, and how the second prong is
analogous to Title VII's requirement that a
challenged practice be job related), 528 (noting the
Court of Appeals for the Fifth Circuit relied on
HUD’s 2013 Rule), 541 (citing the 2013 Rule in
explaining that disparate impact liability is
properly limited to give housing authorities and
private developers leeway to state and explain the
valid interest served by their policies via step two
of the burden shifting framework); 542 (approvingly
noting that HUD recognized in its 2013 Rule that
disparate impact liability “‘does not mandate that
affordable housing be located in neighborhoods
with any particular characteristic’’).

34 fd. at 540-541,

85 See, e.g., MHANY Memt Inc. v. Cnty. of
Nassau, 819 F.3d 581, 618 (2d Gir, 2016) (“The
Supreme Court implicitly adopted HUD’s
approach”); Ave 6E Invs., LLC v. City of Yuma, 818
F.3d 493, 512-513 (9th Cir. 2016) (citing the 2013
Rule in describing the three-prong analytical
structure set forth in Inclusive Communities): Nat'l
Fair Hous. All. v. Travelers Indem. Co., 261 F.
Supp. 3d 20, 28-29 (D.D.C, 2017) (stating that the
Supreme Court “carefully explained that disparate-
impact liability has always been properly limited”
and that “disparate-impact liability under the FHA
can be proven under a burden-shifting framework
analogous to that used in employment
discrimination cases.’’) (internal citations and
quotations omitted); Prop. Cas. Insurers Ass’n of
Am. v. Carson, No. 13-CV—8564, 2017 U.S. Dist.
LEXIS 94502, at *28-*30 (N.D. IIL. June 20, 2017)
(finding that HUD’s 2013 adoption of the 3-step
burden-shifting framework a reasonable
interpretation of the Act, finding that “in short, the
Supreme Court in Inclusive Communities. . . did
not identify any aspect of HUD’s burden-shifting
approach that required correction.”); Burbank
Apartments Tenant Ass’n v. Kargman, 474 Mass.
107, 126-27 (Mass. 2016) (explaining that it was
following the “burden-shifting framework laid out
by HUD and adopted by the Supreme Court in
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HUD’s 2016 Notice: Application of the
Fair Housing Act’s Discriminatory
Effects Standard to Insurance

In 2016, HUD published a notice
(2016 Notice’) supplementing its
response to certain comments
concerning homeowners insurance
received during rulemaking for the 2013
Rule.?6 The notice responded to an
order issued in Property Casualty
Insurers Association of America
{PCTAA} v. Donovan. In that case, the
U.S. District Court for the Northern
District of Mlinois had issued a decision
upholding the 2013 Rule’s burden-
shifting framework for analyzing
discriminatory effects claims,?” while
remanding for further consideration of
certain comments concerning
homeowners insurance.*® In its 2016
Notice, HUD stated, infer alia, that
“Talfter careful reconsideration of the
insurance industry comments in
accordance with the court’s decision
. . . HUD has determined that
categorical exemptions or safe harbors
for insurance practices are unworkable
and inconsistent with the broad fair
housing objectives and obligations
embodied in the Act. HUD continues to
believe that the commenters’ concerns
regarding application of the
discriminatory effects standard to
insurance practices can and should be
addressed on a case-by-case basis.” #9

HUD's 2020 Disparate Impact Rule

On June 20, 2018, HUD published an
Advance Notice of Proposed
Rulemaking (““ANPRM”), inviting
public comment on “what changes, if
any” should be made to the 2013 Rule.#°
HUD then published a Notice of
Proposed Rulemaking on August 19,
2019 (2019 Proposed Rule’). In the
2019 Proposed Rule, HUD proposed to
“amend HUD’s interpretation of the Fair
Housing Act’s disparate impact standard
to better reflect the Supreme Court’s
2015 ruling in Inclusive Communities,
and to provide clarification regarding
the application of the standard to State

[Inclusive Communities].’*); but see Inclusive Cmtys.
Project v. Lincoln Prop. Co., 920 F.3d 890, 902 (5th
Cir. 2019) (noting that “debate exists regarding
whether in JCP the Supreme Court adopted the
[2013] regulation’s approach or modified it” but
that it believed that [CP “announced a more
demanding test’ through the announcement of
“safeguards” to incorporate into the burden shifting
framework, such as a “robust causality’
requirement’).

3631 FR 69012, 69012.

87 Prop. Cas. Insurers Ass’n of Am. v. Donovan,
66 F. Supp. 3d 1018, 1051-53 (N.D. I. 2014).

387d, at 1049, 1054.

3931 FR 69012, 69012.

4033 FR 28560.

laws governing the business of
insurance.” 41

In response to the 2019 Proposed
Rule, HUD received approximately
45,000 comments, most of which
opposed the proposed changes and
many of which raised significant legal
and policy concerns with the 2019
Proposed Rule. Commenters objected
that the proposed changes did not align
with caselaw and made discriminatory
effects claims effectively impossible to
plead and prove in many instances, thus
contravening the core halding of
inclusive Communities.42 HUD’s own
experience investigating, charging, and
litigating discriminatory effects cases
aligned with these comments, as will be
detailed later.

On September 24, 2020, HUD
published the 2020 Rule, which, inter
alia, removed the definition of
discriminatory effect, added pleading
elements that made it far more difficult
to initiate a case, altered the burden-
shifting framework, created new
defenses, and limited available remedies
in disparate impact claims.** Some of
these changes are described more fully
below, along with HUD’s explanation
for why it now believes they are
unwarranted.

Massachusetts Fair Housing Ctr. v. HUD
Order Staying implementation of the
2020 Rule.

Following publication of the 2020
Rule, HUD was sued in three separate
federal courts—Massachusetts Fatr
Housing Ctr., ef al. v. HUD, No, 3:20-
cv—11765 (D. Mass.); National Fair
Housing Alliance, et al. v. HUD, No.
3:20-cv-07388 (N.D. Cal.); Open
Communities, et al. v. HUD, No. 3:20-
cv—01587 (D. Conn.). The plaintiffs in
each case contended that the 2020 Rule
was invalid because it was inconsistent
with the Act and that its promulgation
violated the Administrative Procedure
Act (“APA”), Prior to the effective date
of the 2020 Rule, the U.S. District Court
for the District of Massachusetts in
Massachusetts Fair Housing Ctr. v. HUD
issued a preliminary injunction staying
the implementation and postponing the
effective date of the 2020 Rule. The
district court ordered HUD to ‘‘preserve
the status quo pursuant to the
regulations in effect as of the date of this
Order.” 44

In its order, the district court
preliminarily found that many

4184 PR 42854,

42 See, e.g., 85 FR 60317, 60319 (overview of
some of the comments making these points).

4285 FPR 60288.

44 Mass. Fair Hous. Ctr. v. HUD, No, 20-11765-
MGM, 2020 U.S. Dist. LEXIS 205633, at *20-21(D.
Mass. Oct. 25, 2020).

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significant changes made by the 2020
Rule were likely not supported by
Inclusive Communities or other case
law. Similarly, the court concluded that
the 2020 Rule did not appear to bring
clarity to the discriminatory effects
framework, but rather introduced new
concepts that had never been part of
disparate-impact caselaw without fully
explaining their meaning. In support of
its conclusions, the court pointed to
numerous provisions in the 2020 Rule
as problematic, including § 100.500(b)
(“requiring at ‘the pleadings stage,’
among other things, that plaintiffs
‘sufficiently plead facts ta support’. . .
‘[t]hat the challenged policy or practice
is arbitrary, artificial, and unnecessary
to achieve a valid interest or legitimate
objective such as a practical business,
profit, policy consideration, or
requirement of law’’’); § 100.500(c)(2)
(permitting defendants to ‘rebut a
plaintiffs allegation under (b)(1).. .
that the challenged policy or practice is
arbitrary, artificial, and unnecessary by
producing evidence showing that the
challenged policy or practice’ merely
‘advances a valid interest”’;
§ 100.500(c)(3) (requiring ‘‘at the third
step of the burden-shifting framework
that the plaintiff prove ‘a less
discriminatory policy or practice exists
that would serve the defendant’s
identified interest (or interests) in an
equally effective manner without
imposing materially greater costs on, or
creating other material burdens for, the
defendant’” (emphasis in original));
§ 100.500(d)(1) and (d)(2)(iii)
(“conflating of a plaintiff's prima facie
burden and pleading burden”); and
§ 100.500(d)(2)() (the outcome
prediction defense).4®

The district court stated that the
“practical business, profit, policy
consideration” language, the “outcome
prediction”’ defense, changes to the
third element of the burden-shifting
framework, and the conflating of a
plaintiffs prima facie burden and
pleading burden, ran the risk of
“effectively neutering” discriminatory
effects liability under the Act, and were
all likely unsupported by Inclusive
Communities or other judicial
decisions.** The district court also
stated that the 2020 Rule’s use of ‘new
and undefined terminology, altered
burden-shifting framework, and
perplexing defenses” accomplished “the
opposite of clarity” and was likely
“arbitrary and capricious.” 47 The court
stated that “[t]here can be no doubt that
the 2020 Rule weakens, for housing

48 Id. at *9, *10 n.2, *17-18.
48 fd, at *17-18.
47 Td. at *18-*19,
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discrimination victims and fair housing
organizations, disparate impact liability
under the Fair Housing Act... .In
addition, the 2020 Rule arms defendants
with broad new defenses which appear
to make it easier for offending
defendants to dodge liability and mare
difficult for plaintiffs to succeed. In
short, these changes constitute a
massive overhaul of HUD’s disparate
impact standards, to the benefit of
putative defendants and to the
detriment of putative plaintiffs.” 48 The
court stated that the 2020 Rule’s
“massive changes. . . pose a real and
substantial threat of imminent harm” to
the Massachusetts Fair Housing Center
by raising the burdens and costs of
pursuing claims under a discriminatory
effects theory.*9

II. HUD’S Reconsideration of the 2020
Rule

On January 26, 2021, President Biden
issued a Memorandum ordering the
Department to “take all steps necessary
to examine the effects of the [2020
Rule], including the effect that
amending the [2013 Rule] has had on
HUD’s statutory duty to ensure
compliance with the Fair Housing Act”
and “take any necessary steps. . . to
implement the Fair Housing Act’s
requirements that HUD administer its
programs in a manner that. . . furthers
. . .HUD’s overall duty to administer
the Act [] including by preventing
practices with an unjustified
discriminatory effect.’ 5°

Consistent with the President's
Memorandum, HUD has reconsidered
the 2620 Rule and proposes that the
2013 Rule be recodified. In so
proposing, HUD considered prior public
comments on the various rulemakings
described above, HUD’s responses to
those comments, HUD’s 2016
supplemental explanation regarding the
2013 Rule’s applicability to the
insurance industry, legal precedent
including Inclusive Communities, the
Massachusetts Fair Housing Center
court’s order, and HUD’s own
experience with discriminatory effects
cases over 40 years.

In HUD’s experience, the 2013 Rule
sets a more appropriately balanced
standard for pleading, proving, and
defending a fair housing case alleging a
policy or practice has a discriminatory
effect. The 2013 Rule provides greater
clarity about what each party must show
by relying on concepts that have a long
history in judicial and agency
precedent. It appropriately balances the

48 Fd, at *10.
49fd, at *19,
50 See 86 FR 7487, 7488.

need to ensure that frivolous claims do
not go forward with a realistic
understanding of the practical
challenges to litigating these claims.
With regard to the 2020 Rule, HUD’s
experience investigating and
prosecuting discriminatory effects cases
informs that many of the points made by
commenters and the Massachusetts
District Court are, in HUD’s opinion,
correct, including that the changes the
2020 Rule makes, such as amending
pleading standards, changing the
burden shifting framework, and adding
defenses, all favoring respondents, will
at the very least introduce unnecessary
confusion and will at worst make
discriminatory effects lability a
practical nullity.

HUD now proposes to recodify the
2013 Rule’s discriminatory effects
standard and invites comments on this
proposal. HUD believes that this
standard is more consistent with the
Act’s purpose, prior caselaw under the
Act, including inclusive Communities,
other civil rights authorities, including
the Equal Credit Opportunity Act and
Title VII, and HUD’s prior
interpretations of the Act. While HUD
previously stated that the 2020 Rule was
simply intended to implement the
Supreme Court’s opinion in Inclustve
Communities, HUD now believes that
Inclusive Communities maintained the
fundamentals of long-established
disparate-impact precedent rather than
changing them. Moreover, based on
HUD’s experience investigating and
litigating discriminatory effects cases,
HUD believes that the practical effect of
the 2020 Rule’s amendments is to
severely limit HUD’s and plaintiffs’ use
of the discriminatory effects framework
in ways that substantially diminish that
frameworks’ effectiveness in
accomplishing the purposes that
inclusive Communities articulated.

By comparison, in HUD’s experience,
the 2013 Rule has provided a workable
and balanced framework for
investigating and litigating
discriminatory effects claims that is
consistent with the Act, HUD’s own
guidance, Inclusive Communities, and
other jurisprudence.

As noted above, the Court in Inclusive
Communities heavily relied on Griggs,
which is the foundation of Title VII
disparate impact jurisprudence, to
illustrate the well-settled principles of
disparate impact under the Act, all of
which are fully consistent with the 2013
Rule.5! In Griggs, the Court explained
that, under Title VII, “[w]hat is required
by Congress is the removal of artificial,

51 See generally inclusive Cmiys. Project, Inc., 576
U.S. 519 (2015).

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arbitrary, and unnecessary barriers to
employment when the barriers operate
invidiously to discriminate on the basis
of racial or other impermissible
classification.’ 52 Quoting from its
foundational decision in Griggs, the
Supreme Court in Inclusive
Communities observed that “‘[dlisparate-
impact liability mandates the ‘removal
of artificial, arbitrary, and unnecessary
barriers,’ not the displacement of valid
governmental policies.” 5? This
quotation from a seminal decision of
longstanding disparate impact doctrine
is properly read as maintaining existing
law, not profoundly changing it. As
Inclusive Communities explicitly stated,
‘‘disparate-im pact liability has always
been properly limited in key respects”
(emphasis added), making clear that it
was not adding additional pleading or
proof requirements or calling for a
significant departure from pre-existing
precedent under the Act and Title VII.54
Furthermore, reading Inclusive
Communities to support a heightened
pleading standard is contradicted by the
fact that the “heartland” cases cited by
the Court would not have survived a
motion to dismiss under that standard
because plaintiffs in those cases did not
have specific facts to plausibly allege
that a policy or practice was arbitrary,
artificial, or unnecessary until after
discovery.®® Finally, because Inclusive
Communities considered a judgment
reached after discovery and bench trial,
the Court had no occasion or
opportunity to consider the proper
pleading standards for cases brought
under the Act. The parties did not brief
or argue such questions to the Court,
making it particularly unlikely that the
Court intended to reach them.

For these reasons and others, HUD
believes that Inclusive Communities’
quotation of Griggs’ decades-old
“artificial, arbitrary, and unnecessary”
formulation is best construed as

52 Griggs v. Duke Power Co., 401 U.S. 424, 430—
31 (1971).

88 Inclusive Cmiys. Project, Inc., 576 U.S. at 540
(quoting Griggs, 401 U.S. at 431); see also Inclusive
Cmitys. Project, Inc., 576 U.S. at 544 (cautioning
against proof standards that “displace valid
governmental and private priorities, rather than
solely ‘remov[ing]. . . artificial, arbitrary, and
unnecessary barriers’’’) (quoting Griggs, 401 U.S. at
431) (alterations in original).

54 fd. at 540,

55 See, e.g., Town of Huntington, NY v.
Huntingion Branch, NAACP, 488 U.S. 15 (1988);
United States v. City of Black Jack, 508 F.2d 1179,
1184, 1187-88 (8th Cir. 1974) (specific facts
produced during the case supported the court's
determination that the policy was one of those
“artificial, arbitrary, and unnecessary” practices
that is properly invalidated under disparate impact
doctrine): Greater New Orleans Fair Hous. Action
Ctr. v. St. Bernard Parish, 641 F. Supp. 2d 563, 567—
568 (E.D. La. 2009) (relying on information gathered
after the pleadings to find disparate impact).
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maintaining continuity with
longstanding disparate-impact
jurisprudence, as reflected in the 2013
Rule. Accordingly, HUD proposes to
recodify the 2013 Rule.

HUD believes other changes the 2020
Rule made create problems that could
be cured by a return to the 2013 Rule.
For example, the 2020 Rule eliminated
the 2013 Rule’s definition of
“discriminatory effect,” stating that the
definition was unnecessary because it
“simply reiterated the elements of a
disparate impact claim.’ 5° In
eliminating this definition, the 2020
Rule erased “perpetuation of
segregation” as a recognized type of
discriminatory effect distinct from
disparate impact, contrary to well
established precedent.” HUD now
proposes to reaffirm that perpetuation of
segregation remains, as it always has
been, a basis for contending that a
policy has an unlawful discriminatory
effect. HUD now believes that for
clarity, a discriminatory effects rule
should explicitly state that perpetuation
of segregation is a type of discriminatory
effect, distinct from disparate impact.

The 2020 Rule also eliminated from
the Act’s prohibitions policies or
practices that could “predictably
result[ ] in a disparate impact on a group
of persons,” 7.¢., those for which the
disparate impact has not yet manifested
but will predictably do so.64 As HUD
stated in 2013, the Act prohibits
discrimination that is predictable
because it defines an ‘‘agerieved
person” as any person who “believes

5634 PR 42854: 85 FR 60288, 60306—-07, 60332.

87 See, e.g., Graoch Assocs. # 33, L.P., 508 F.3d
at 378 (6th Cir. 2007) (there are “two types of
discriminatory effects which a facially neutral
housing decision can have: The first occurs when
that decision has a greater adverse impact on one
racial group than on another. The second is the
effect which the decision has on the community
involved; if it perpetuates segregation and thereby
prevents interracial association it will be
considered invidious under the Fair Housing Act
independently of the extent to which it produces
a disparate effect on different racial groups.’’); Ave.
6E Invs. v. City of Yuma, 818 F.3d 493, 503 (9th
Cir. 2016) (“[A]s the Supreme Court recently
reaffirmed [in JCP], the FHA also encompasses a
second distinct claim of discrimination, disparate
impact, that forbids actions by private or
governmental bodies that create a discriminatory
effect upon a protected class or perpetuate housing
segregation without any concomitant legitimate
reason.”) (emphasis added): see also Huntington
Branch, NAACP v. Huntingion, 844 F.2d 926, 937
(2nd Cir, 1988); Metro. Hous. Dev. Corp. v. Vill. of
Arlington Heights, 558 F.2d 1283, 1290 (7th Cir.
1977); Natl Fair Hous. All. v. Bank of Am., NA.,
401 F, Supp. 3d 619, 641 (D. Md. 2019) (allowing
claim to proceed past motion to dismiss where
plaintiff pleaded facts sufficient to allege that
defendant’s policies “forestall housing integration
and freeze existing racial segregation patterns”);
Hallmark Devs., Inc. v. Fulion Cnty., 386 F. Supp.
2d 1369, 1383 (N.D. Ga. 2005).

5884 FPR 42854; 85 FR 60288, 60306—07, 60322.

that such person will be injured by a
discriminatory housing practice thaf is
about to occur.” ®° And consistent with
the Act’s plain language, courts have
found that predictable discriminatory
effects may violate the Act: “‘[tlo
establish a prima facie case of racial
discrimination, the plaintiff need prove
no more than that the conduct of the
defendant actually or predictably results
in racial discrimination: in other words,
that it has a discriminatory effect.” §°
The 2020 Rule did not adequately
explain how the Act and caselaw
construing it can be read to require
waiting until harm is inflicted before an
action with predictable discriminatory
effects can be challenged, nor does HUD
perceive that any such explanation
would be availing, given the plain
language of the Act and the caselaw
interpreting it. Thus, HUD proposes to
recodify the 2013 Rule to correct this
error.

In addition, the 2020 Rule created
new and confusing defenses at both the
pleading and post-pleading stage,
including that the challenged policy or
practice is ‘reasonably necessary to
comply with a third-party
requirement.” 61 The 2020 Rule’s
preamble stated that this defense would
not require a showing that the
challenged policy is the only way to
comply with such a requirement, only
that the policy serves that purpose.®?
HUD now believes that this defense is
inconsistent with the Act, which
specifies that state and local laws
requiring or permitting discriminatory
housing practices are invalid. The
defense would preclude many otherwise
proper discriminatory effects claims,
because, for example, a plaintiff may not
have any practical means of knowing
whether some other party’s policies also
contributed to the defendant’s practice.
Nothing in Inclusive Communities
suggests this defense is required, let
alone reasonable, for HUD to create.
Accordingly, HUD proposes to eliminate
these provisions by recodifying the 2013
Rule.

The 2020 Rule also created a new
“outcome prediction” defense, which
would in practice exempt mast
insurance industry practices (and many
other housing-related practices that rely
on outcome predictions, such as lending
practices) from liability under a
disparate impact standard. This is
inconsistent with HUD’s repeated

£942 U.S.C. 3602(1)(2) (emphasis added).

60 See Inclusive Cmitys. Project, Ine., 576 U.S, at
539-40 (2015) (describing City of Black Jack, 508
F.2d at 1184 as “at the heartland of disparate-
impact liability”).

5185 FR 60288, 60316-17.

5285 FR 60288, 60290.

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finding, including in the 2020 Rule, that
‘‘a general waiver of disparate impact
law for the insurance industry would be
inappropriate.” ®* Although unclear, it
appears that this defense would suggest
using comparators that are, in HUD’s
experience, inappropriate. At the very
least, the defense introduces
unnecessary confusion into the
doctrine.

The 2020 Rule limited remedies in
discriminatory effects cases in three
respects. It specified that “remedies
should be concentrated on eliminating
or teforming the discriminatory practice
so as to eliminate disparities between
persons in a particular protected class
and other persons.” ® It prohibited
HUD in administrative proceedings
from pursuing anything but “equitable
remedies” except that “where pecuniary
damage is proved, HUD will seek
compensatory damages or
restitution.” 6> And it restricted HUD
from seeking civil penalties in
discriminatory effects cases unless the
respondent had been adjudged within
the last 5 years to have committed
intentional unlawful housing
discrimination under the Act.®6 HUD
believes that these limitations have no
basis in law and run contrary ta public
interest and the purpose of the Act.
While the 2020 Rule cited Inclusive
Communities as supporting these
limitations,®? no part of Inclusive
Communities suggested such
limitations.®® Moreover, they are in
conflict with the plain language of the
Act, which provides in all cases for a
wide variety of remedies, including
injunctive relief, actual damages,
punitive damages, and civil penalties.®9

®2 85 FR 60321 (citing “Application of the Fair
Housing Act's Discriminatory Effects Standard to
Insurance” 81 FR 69012).

5435 FR 60288, 60333.

85 Id,

88 Fd.

87 Id.

88 See Inclusive Cmiys. Project, 576 U.S, at 544—
45 (noting considerations for courts on how to
properly construct remedial orders (7.¢., be
consistent with the Constitution, concentrate on the
elimination of the offending practice, strive to be
tace-neutral), but in no way suggesting that
remedial orders should be the sole or favored
remedy in disparate impact cases, or that civil
penalties in administrative proceedings are
somehow inappropriate).

®9 See, e.g., 42 U.S.C. 3601 note (“Nothing in the
Fair Housing Act as amended by this Act limits any

. . remedy available under the Constitution or any
other Act of the Congress not so amended”); 42
U.S.C. 3612(¢)(3) (“Tf the administrative law judge
finds that a respondent has engaged. . . ina
discriminatory housing practice, such
administrative law judge shall promptly issue an
order for such relief as may be appropriate, which
may include actual damages suffered by the
aggrieved person and injunctive or other equitable
relief. Such order may, to vindicate the public

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Whereas Congress has chosen to limit
the remedies available in disparate-
impact cases under Title VII,7° it has
made no such choice with respect to the
Act. Thus, HUD proposes to eliminate
these provisions by recodifying the 2013
Rule.

In sum, HUD now believes that the
2013 Rule is preferable to the 2020 Rule.
It believes the 2013 Rule is more
consistent with judicial precedent
construing the Fair Housing Act,
including Inclusive Communities, as
well as the Act’s broad remedial
purpose. Based on its experience
interpreting and enforcing the Act, HUD
also believes the 2020 Rule, if put into
effect, threatens to limit the
effectiveness of the Act’s discriminatory
effects doctrine in ways that are
inconsistent with the doctrine
continuing to play its critical role in
“moving the Nation toward a more
integrated society.” 7! On the other
hand, HUD believes that the 2013 Rule
provided clarity, consistency, and a
workable, balanced framework,
recognized by the Supreme Court, under
which to analyze discriminatory effects
claims, and under which HUD can
better ensure it has the tools to further
its “duty to administer the Act []
including by preventing practices with
an unjustified discriminatory effect.” 72

Ill. This Proposed Rule

For the reasons described above, HUD
proposes to amend §§ 100.5 and 100.500
to recodify the discriminatory effects
regulation specified in the 2013 Rule.
As HUD has stated, the 2013 Rule was
consistent with Inclusive
Communities.7* The vast majority of
courts that considered this issue

interest, assess a civil penalty against the
respondent. . .”’); 42 U.S.C. 3612(p) (“[iJn any
administrative proceeding brought under this
section, or any court proceeding arising therefrom,
or any civil action under section 812, the
administrative law judge or the court. . . inits
discretion, may allow the prevailing party, other
than the United States, a reasonable attorney‘s fees
and costs.”); 42 U.S.C. 3613(c)(1) (“in a civil action
under subsection (a), if the court finds that a
discriminatory housing practice has occurred. . .
the court may award to the plaintiff actual and
punitive damages, and subject to subsection (d),
may grant as relief, as the court deems appropriate,
any permanent or temporary injunction, temporary
restraining order, or other order. . . .”’).

7042 U.S.C, 2000e—S(g)(1).

7 Inclusive Cmitys. Project, 576 U.S. at 547.

7286 FR 7487, 7488,

78 See, e.g., Defendants’ Opposition to Plaintiff's
Motion for Leave to Amend Complaint, Prop. Cas.
Ins, Assoc. of Am.¥v. Garson and the U.S. Dep't of
Hous. and Urb. Dev., No. 1:13—cv—08564 (N.D. IIL.
2017); Defendants’ Memorandum in Support of
Their Motion for Summary Judgment and in
Opposition to Plaintiffs’ Motion for Summary
Judgment, Am. Ins. Assoc. v. U.S. Dep’t of Hous.
and Urb. Dev. et ai., No. 1:13-cv—00966 (RJL)
(D.D.c. 2016).

subsequent to Inclusive Communities
also found that the 2013 Rule was
consistent with Inclusive
Communities.74* HUD thus proposes this
tule because it believes the 2013 Rule
accurately reflects the discriminatory
effects framework under the Act,
whereas the 2020 Rule does not.

HUD does not propose to amend
§ 100.70. The 2020 Rule made changes
unrelated to § 100.500 by simply adding
examples to an already non-exhaustive
list of prohibited activities under the
Act at § 100.70(d)(5).”> Specifically, it
noted that enacting or implementing
“building codes,” “permitting rules,” or
“requirements” that restrict or deny
housing opportunities or otherwise
make unavailable or deny dwellings to
persons because of a protected class is
prohibited.

IV. Findings and Certifications

Regulatory Review—Executive Orders
13563 and 12866

Executive Order 13563 (“Improving
Regulation and Regulatory Review’)
directs agencies to propose or adopt a
regulation only upon a reasoned
determination that its benefits justify its
costs, emphasizes the importance of
quantifying both costs and benefits, of
harmonizing rules, of promoting
flexibility, and of periodically reviewing
existing rules to determine if they can
be made more effective or less
burdensome in achieving their
objectives. Under Executive Order
12866 (“Regulatory Planning and
Review’), a determination must be
made whether a regulatory action is
significant and therefore, subject ta
review by the Office of Management and
Budget (“OMB”) in accordance with the
requirements of the order. This
proposed rule was determined to bea

74 See, e.g., MHANY Memt, Inc. v. County of
Nassau, 819 F.3d 581, 618-619 (2d Cir. 2016)
(deferring to HUD’s [2013] regulation, noting that
“the Supreme Court implicitly adopted HUD’s
[burden shifting] approach [in 24 CFR 100.500(c)]’’);
Ave. 6E Invs., LLC, 818 F.3d at 512-13 (9th Cir.
2016) (citing Inclusive Communities and the 2013
Rule at 100.500(c) for the same proposition); Nat?
Fair Hous. All. v. Travelers Indem. Co., 261 F.
Supp. 3d 20, 29 (D.D.C. 2017) (citing Inclusive
Communities and HUD’s 2013 Rule at 100.500(c) as
standing for the same proposition); Prop. Cas.
Insurers Ass’n of Am. v. Carson, No. 13-CV-8564,
2017 U.S. Dist. LEXIS 94502, at *29-30 (N.D. I.
June 20, 2017) (finding that HUD’s 2013 adoption
of the 3-step burden-shifting framework was a
reasonable interpretation of the Act and that “in
short, the Supreme Court in Inclusive Communities
.. . did not identify any aspect of HUD’s burden-
shifting approach that required correction.”);
Burbank Apartments Tenant Ass'n v. Kargman, 474
Mass. 107, 126-27 (Mass. 2016) (explaining that it
was following the “burden-shifting framework laid
out by HUD and adopted by the Supreme Court in
[inclusive Communities].’’).

7585 FR 60326.

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“significant regulatory action” as
defined in section 3(f) of Executive
Order 12866 (although not an
economically significant regulatory
action, as provided under section 3(f)(1)
of the Executive Order).

Because the 2020 Rule never took
effect, and therefore did not affect the
obligations of any regulated entities, this
proposed rule is only recodifying the
2013 Rule and will have no impact on
regulated entities except to affirm that
the 2013 Rule remains in effect.
Furthermore, the 2013 Rule itself had
little direct effect on regulated entities
because it only “‘formalize[d] the
longstanding interpretation of the Fair
Housing Act to include discriminatory
effects liability” and “[was] not a
significant departure from HUD’s
interpretation to date or that of the
majority of federal courts.” 76 Therefore,
HUD does not believe that deeper
analysis is needed on the impact of this
rule. However, HUD invites comment
on this question.

The docket file is available for public
inspection in the Regulations Division,
Office of the General Counsel, Room
10276, 451 7th Street SW, Washington,
DC 20410-0500. Due to security
measures at the HUD Headquarters
building, please schedule an
appointment to review the docket file by
calling the Regulations Division at 202-
708-3055 (this is not a toll-free
number). Individuals with speech or
hearing impairments may access this
number via TTY by calling the Federal
Relay Service at 800-877-8339 (this is
a toll-free number).

Regulatory Flexibility Act

The Regulatory Flexibility Act
(“RFA”) (5 U.S.C. 601 et seq.) generally
requires an agency to conduct a
regulatory flexibility analysis of any rule
subject to notice and camment
rulemaking requirements, unless the
agency certifies that the rule will not
have a significant economic impact on
a substantial number of small entities.
This rule amends the Code of Federal
Regulations to accurately reflect HUD’s
discriminatory effects regulation as it
currently exists. As a result, all entities,
big and small, have a responsibility to
comply with the law.

As discussed above, this Proposed
Rule would continue to apply the 2013
Rule, which has been in effect
uninterrupted for over seven years. HUD
concludes, as it did when it published
the 2013 Rule, that the majority of
entities, large or small, currently comply
and will remain in compliance with the
Fair Housing Act. All entities, large and

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small, have been subject to the Fair
Housing Act for over fifty years and
subject to the 2013 Rule for over seven
years. For the minority of entities that
have failed to institutionalize methods
to avoid engaging in illegal housing
discrimination and plan to come into
compliance as a result of this
rulemaking, the costs will simply be the
costs of compliance with a preexisting
statute and regulation. This proposed
tule does not change that substantive
obligation; it merely recodifies the
regulation that more accurately reflects
the law. Any burden on small entities is
simply incidental to the pre-existing
requirements to comply with this body
of law. Furthermore, HUD anticipates
that this Proposed Rule would eliminate
confusion for all entities, including
small Fair Housing Advocacy
organizations, by ensuring HUD’s
regulation accurately reflects the current
standards. Accordingly, the undersigned
certifies that this Proposed Rule would
not have a significant economic impact
on a substantial number of small
entities. HUD invites comments on this
certification. HUD specifically invites
comments on the number of small
entities which commenters believe may
be affected by this regulation.

Environmental Impact

This proposed rule sets forth
nondiscrimination standards.
Accordingly, under 24 CFR 50.19(c)(3),
this rule is categorically excluded from
environmental review under the
National Environmental Policy Act of
1969 (42 U.S.C, 4321).

Executive Order 13132, Federalism

Executive Order 13132 (entitled
Federalism’) prohibits an agency from
publishing any rule that has federalism
implications ifthe rule either: (i)
Imposes substantial direct compliance
costs on state and local governments
and is not required by statute, or (ii)
preempts state law, unless the agency
meets the consultation and funding
requirements of section 6 of the
Executive Order. This proposed rule
would not have federalism implications
and would not impose substantial direct
compliance costs on state and local
governments or preempt state law
within the meaning of the Executive
Order.

Unfunded Mandates Reform Act

Title I of the Unfunded Mandates
Reform Act of 1995 (2 U.S.C, 1531-
1538) (‘UMRA”) establishes
requirements for federal agencies to
assess the effects of their regulatory
actions on state, local, and tribal
governments, and on the private sector.

This proposed rule would not impose
any federal mandates on any state, local,
or tribal governments, or on the private
sector, within the meaning of the
UMRA.

List of Subjects in 24 CFR Part 100

Aged, Civil rights, Fair housing,
Incorporation by reference, Individuals
with disabilities, Mortgages, and
Reporting and recordkeeping
requirements.

For the reasons discussed in the
preamble, HUD proposes to amend 24
CFR part 100 as follows:

PART 100—DISCRIMINATORY
CONDUCT UNDER THE FAIR HOUSING
ACT

g 1. The authority citation for 24 CFR
part 100 continues to read as follows:

Authority: 42 U.S.C. 3535(d), 3600-3620.

Subpart A—General

g 2. In § 100.5, revise paragraph (b) and
remove paragraph (d) to read as follows:

§100.5 Scope.
* * * * *

(b) This part provides the
Department’s interpretation of the
coverage of the Fair Housing Act
regarding discrimination related to the
sale or rental of dwellings, the provision
of services in connection therewith, and
the availability of residential real estate-
related transactions. The illustrations of
unlawful housing discrimination in this
part may be established by a practice’s
discriminatory effect, even if not
motivated by discriminatory intent,
consistent with the standards outlined
in § 100.500.

* * * * *

Subpart G—Discriminatory Effect
m 3, Revise § 100.500 to read as follows:

§100.500 Discriminatory effect prohibited.

Liability may be established under the
Fair Housing Act based on a practice’s
discriminatory effect, as defined in
paragraph (a) of this section, even if the
practice was not motivated by a
discriminatory intent. The practice may
still be lawful if supported by a legally
sufficient justification, as defined in
paragraph (b) of this section. The
burdens of proof for establishing a
violation under this subpart are set forth
in paragraph (c) of this section.

(a) Discriminatory effect. A practice
has a discriminatory effect where it
actually or predictably results in a
disparate impact on a group of persons
or creates, increases, reinforces, or
perpetuates segregated housing patterns

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because of race, color, religion, sex,
handicap, familial status, or national
origin.

(b) Legally sufficient justification. (1)
A legally sufficient justification exists
where the challenged practice:

(i) Is necessary to achieve one or more
substantial, legitimate,
nondiscriminatory interests of the
respondent, with respect to claims
brought under 42 U.S.C. 3612, or
defendant, with respect to claims
brought under 42 U.S.C. 3613 or 3614;
and

(ii) Those interests could not be
served by another practice that has a
less discriminatory effect.

(2) A legally sufficient justification
must be supported by evidence and may
not be hypothetical ar speculative. The
burdens of proof for establishing each of
the two elements of a legally sufficient
justification are set forth in paragraphs
(c)(2) and (3) of this section.

(c) Burdens of proof in discriminatory
effects cases. (1) The charging party,
with respect to a claim brought under 42
U.8.C. 3612, or the plaintiff, with
respect to a claim brought under 42
U.S.C, 3613 or 3614, has the burden of
proving that a challenged practice
caused or predictably will cause a
discriminatory effect.

(2) Once the charging party or
plaintiff satisfies the burden of proof set
forth in paragraph (c)(1) of this section,
the respondent or defendant has the
burden of proving that the challenged
practice is necessary to achieve one or
more substantial, legitimate,
nondiscriminatory interests of the
respondent or defendant.

(3) Ifthe respondent or defendant
satisfies the burden of proof set forth in
paragraph (c)(2) of this section, the
charging party or plaintiff may still
prevail upon proving that the
substantial, legitimate,
nondiscriminatory interests supporting
the challenged practice could be served
by another practice that has a less
discriminatory effect.

(d) Relationship fo discriminatory
intent. A demonstration that a practice
is supported by a legally sufficient
justification, as defined in paragraph {b)
of this section, may not be used asa
defense against a claim of intentional
discrimination.

Dated: June 17, 2021.

Jeanine Worden,

Acting Assistant Secretary, Office of Fair
Housing and Equal Opporiunify.

[FR Doc. 2021-13240 Filed 6-24-21: 8:45 am]
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PUBLIC SUBMISSION Tracking No. kso-xdks kf

Comments Due: August 24, 2021

Docket: HUD-2021-0033
FR-6251-P-01 Reinstatement of Discriminatory Effects Standard

Comment On: HUD-2021-0033-0001
FR-6251-P-01 Reinstatement of Discriminatory Effects Standard

Document: HUD-2021-0033-0200
Comment Submitted by Thomas Karol

Submitter Information

General Comment

Please accept the attached comments from the National Association of Mutual Insurance Companies.

Attachments

HUDComment’ 23

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LJ) MUTUAL INSURANCE COMPANIES 20 F Street N.W., Suite 510 | Washington, D.C. 20001

August 23, 2021

Kathleen M. Pennington

Acting Associate General Counsel for Fair Housing
Office of General Counsel

U.S. Department of Housing and Urban Development
451 7th Street SW

Washington, DC 20410-0500

Re: Department of Housing and Urban Development, 24 CFR Part 100 [Docket No.
FR-—6251—P—01] RIN 2529-AB02, Reinstatement of HUD’s Discriminatory Effects
Standard Proposed Rule (“Proposed Rule”)

Acting Associate General Counsel Pennington:

The National Association of Mutual Insurance Companies (NAMIC) 1s respectfully submitting
comments on the Proposed Rule. NAMIC 1s the largest property/casualty insurance trade group with
a diverse membership of more than 1,400 local, regional, and national member companies, including
seven of the top 10 property/casualty insurers in the United States. NAMIC members lead the
personal lines sector representing 66 percent of the homeowner’s insurance market and 53 percent of
the auto market.

NAMIC and NAMIC’s members are adamantly opposed to discrimination based on protected
classes and unfair discrimination in general, and we support legislative and regulatory policies to
prevent these practices. The elimination of racism improves every aspect of our relationships,
institutions, and business communities.

There Remains No Need for The Proposed Rule to Apply to Insurance

There 1s no evidence that there were actionable disparate impact cases involving the pricing or

provision of housing insurance prior to 2013, and with insurers being subject to the 2013 rule for the
last eight years, there have similarly been no allegations or findings of homeowner insurer disparate
impact have been made or adjudicated since 2013. As NAMIC has repeatedly made clear to HUD in

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comments and in court proceeding challenging this rule, every state has effective and strong civil
and criminal insurance anti-discrimination laws, regulations, and enforcement divisions, and there
has been not a single allegation that these civil and criminal insurance anti-discrimination laws,
regulations and enforcement division have in any way been insufficient. In fact, the rule undermines
or impairs the existing application of the McCarran-Ferguson Act that established the states as the
regulators over insurance and in particular the source for the definition of unfair discrimination,
linking the definition to equal treatment and cost-based pricing.

A. The Proposed Rule Disrupts the Business of Insurance

As NAMIC commented on the original proposed rule in 2012, State insurance laws prohibit
insurance rates from being “excessive, inadequate, unreasonable or unfairly discriminatory.”
Classifying people and property by the risks they present and treating similar risk profiles in a
similar manner is a form of reasonable and fair discrimination that 1s at the very heart of the business
of insurance. “Unfair discrimmnation,” on the other hand, has specific meaning in the insurance
context. The concept of unfairly discriminatory insurance rates has historically been a cost-based
concept. Principal 4 of Casualty Actuarial Society Statement of Ratemaking Principles, formally
adopted in 1988, provides that “a rate 1s reasonable and not excessive, inadequate, or unfairly
discriminatory if1t is an actuarially sound estimate of the expected value of all future costs
associated with an individual risk transfer.”

Also, in comments to HUD on the proposed rule in 2012 and subsequently, NAMIC has
continuously tried to help HUD understand that the foundation of the business of insurance, and in
particular underwriting and rate-making, is classifying insurance applicants and policyholders by
risk. Insurers make decisions based on actuarial and business principles that group policyholders for
the purpose of treating those with similar risk profiles similarly. NAMIC has informed HUD that
race or other protected class characteristics are not part of the risk assessment process. HUD
understands that state insurance laws proscribe the use of prohibited factors in rating and
underwriting practices of insurers, and states prohibit unfair discrimination in insurance. In the
context of insurance, unfair discrimination includes treating similar risks in a dissimilar manner.
Insurance regulation focuses on facially neutral underwriting or rating factors that reflect insurance
risk. Accordingly, state insurance laws largely reflect the principles underpinning property/casualty
insurance pricing.

To actuarially determine rates that most accurately measure loss potential, insurers identify
relationships between factors and risk of loss and allocate costs accordingly. This practice is the

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very essence of risk-based pricing. Common homeowners insurance factors include claim history of
applicant, construction material (s), distance from a fire station, dog/breed of dog owned, fire
suppression devices, home-based business presence and type, lead paint potential (constructed pre-
1978), loss history of property, roofing material, trampoline use, slab versus basement and the
presence of an operational security system among many other facially neutral factors.

Under this Reinstated Discriminatory Effects Standard, these and other common underwriting
factors could be jeopardized, even though they do not intentionally discriminate, if they were found
to have the “effect” of making unavailable or denying a dwelling to a certain percentage of a
particular racial or ethnic group if that percentage 1s greater than the percentage of other groups that
is similarly affected. To achieve a condition in which no statistical disparities would exist that could
“actually or predictably results in a disparate impact” in the average rate paid by different
demographic groups, many if not most risk- based variables would have to be eliminated from the
underwriting process. In other words, to avoid creating a disparate impact, an insurer would have to
charge everyone the same rate, regardless of risk. But this would be patently unfair since it will
result in those receiving more in claim payments paying less while those receiving less in claim
payments would pay more. This will be the case within a protectected class as well as between
protected classes since the likelihood of loss is not monolithic by race or ethnicity. This calls into
question conclusions drawn simply from statistical samplings and underscores why the business of
risk classification defies a disparate impact analysis.

B. Insurer Compliance with the Reinstated Rule Will be Unworkable

In the Reinstatement, HUD blithely states “this proposed rule.... will have no impact on regulated
entities .... Therefore, HUD does not believe that deeper analysis 1s needed on the impact of this
rule.” NAMIC respectfully and vigorously disagrees.

§ 100.500 (a) of the proposed reinstated rule provides that “A practice has a discriminatory effect
where it actually or predictably results in a disparate impact on a group of persons or creates,
increases, reinforces, or perpetuates segregated housing patterns because of race, color, religion, sex,
handicap, familial status, or national origin.” To ensure that an insurer does not employ any practice
that “actually or predictably results” in disparate impact “because of race, color, religion, sex,
handicap, familial status, or national origin”, an insurer would by definition need to know and
consider the race, color, religion, sex, handicap, familial status, or national origin of every
policyholder and applicant, as well as the undefined “segregated housing patterns.”

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The primary impediment to any practical compliance by insurers is the fact that insurance companies
that price and provide homeowner insurance do not have any data on the race, color, religion,
handicap, or national origin of policyholders or applicants. These companies are precluded by at
least one state law for asking for such data. To avoid being blindsided and to defend against
allegations against insurer practices that may “actually or predictably results in a disparate impact”
an insurer would need to somehow obtain, validate, record, and apply data on the race, color,
religion, sex, handicap, familial status, or national origin of every policyholder and applicant.
Insurers would be required to ask each existing policyholder and each policy applicant for their self-
identified race, color, religion, sex (gender identity?), handicap, familial status, or national origin.
Short of denying coverage to all policyholders and applicants who refuse to provide and validate
such data, insurers would have no way to ensure that their protected class data sets were accurate and
complete. As the proposed disparate impact standard does not consider intent, but rather resulting
impact, an incomplete or erroneous data set would likely result in inaccurate evaluations and
potential discrimination liability for insurers that employed even the most vigorous compliance
efforts.

This need for this perfect data set will also require that an insurer trying to comply must validate and
update the data set when a policyholder later self identifies as a different race, color, religion, sex,
handicap, familial status, or national origin.

But there’s more. The reinstated rule would also subject insurers to liability for insurance practices
that — inadvertently and without intent — “actually or predictably” create, increase, reinforce, or
perpetuate segregated housing patterns. This would require a compliance oriented insurer to have the
same unrealistic protected class data sets defined above, AND to then to understand the undefined
“segregated housing patterns” sufficiently to guarantee that the an insurance policy renewed or
provided to a policyholder or applicant of a defined race, color, religion, handicap, familial status, or
national origin of every policyholder and applicant could not actually or predictably create, increase,
reinforce, or perpetuate segregated housing patterns related to race, color, religion, handicap,
familial status, or national origin of every policyholder and applicant.

If an insurer can achieve and maintain a perfect data set of policyholder race, color, religion, sex,
handicap, familial status, or national origin of every policyholder and applicant, and understand
segregated housing patterns, these dual goals of the reinstated regulation may operate in conflict.
Under the proposed rule, an insurer could be liable for discrimination if they have a practice of
considering the pricing or provision or a homeowner policy based on race, color, religion, sex,

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handicap, familial status, or national origin of every policyholder and applicant. Under the same rule,
an insurer would be liable if they perpetuate segregated housing patterns.

Assuming Insurer X has an application for a homeowner policy from a Protected Group A, it would
be discrimination for Insurer X to consider national origin intentionally or operate in any way that
resulted in a disparate manner. But at the same time under disparate impact liability under the 2013
Rule, Insurer X could be liable if the home in question was 1n an area that was perpetuating
Protected Group A housing patterns. By requiring the insurer to avoid practices that “actually or
predictably creates, increases, reinforces, or perpetuates segregated housing patterns”, HUD would
require the insurer to make an intentional or disparate practice based wpon a prohibited factor.

Insurers would also have great compliance difficulty in continually defining and addressing the
requisite statistical discrepancy that would be the basis of possible disparate impact claims under the
proposed rule. While there are varying accepted standards of applicable statistical discrepancy that
may be permissible and impermissible —1.e. X°% variance from statistics is allowed, but X+1% is
discriminatory - but the completely undefined factor 1s the geographic statistical base upon which the
insurer’s practice must comply. Is the insurer required to track and comply with government,
academic or independent protected class statistics of Ward 8, south Baltimore, Baltimore city,
metropolitan Baltimore, Maryland, the greater Baltimore Washington Metropolitan area, the Mid-
Atlantic states or nationally? Or 1s the statistical focus on the business of the area in which the
insurer operates, or on the business line the insurer offers, or some combination of geographic
regions and the insurer’s business.

Without some definition of the geographic, business or some other definitive statistical base upon
which an insurer could being to establish a compliance program, even the most perfectly accurate
and evolving protected class data base and comprehensive analysis of segregated housing by an
insurer would not enable compliance with the proposed rule.

These are just some of impractical results of applying the proposed regulation to the pricing and
provision of homeowners insurance. Others not detailed here would include the vast expense
required of insurers to collect and maintain the protected class data, the liability of insurers for any
breach of the confidentiality of that data potential impact of insurers leaving the market as
unworkable, too expense and too risky.

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C. The 2013 Rule Does Not Included the 2015 Disparate Impact Requirements Set by the
U.S. Supreme Court

HUD”s self-congratulatory reinstatement and approval of its own work 1s a combination of
revisionist history and selective memory. HUD proposed the rule in 2012 to try to impose its views
on burdens of proof requirements to federal courts that chose to apply the burdens of proof that each
court determined most appropriate. There was not a “judicial consensus” as HUD claims in the
Reinstatement, which is clear from HUD’s 2011 proposed rule statement that “This inconsistency
threatens to create uncertainty as to how parties’ conduct will be evaluated.”

In the Reinstatement, “HUD believes the 2013 Rule is more consistent with judicial precedent
construing the Fair Housing Act, including Jnclusive Communities”, which amazingly purports
HUD’s clairvoyance in proposing a rule in 2011 that would include judicial precedent set out by the
Supreme Court in 2015. This continues in the Reinstatement - °As HUD has stated, the 2013 Rule
was consistent with Inclusive Communities.” HUD also claims that the Supreme Court “cited
HUD's 2013 Rule multiple times with approval”. While provisions of the Rule were cited in one
paragraph by the Court, there 1s nothing in the reference that can reasonably be interpreted as
approval. In fact, HUD’s Reinstatement later acknowledges that the “Court had no occasion or
opportunity to consider the proper pleading standards.”

What the Supreme Court did do in Inclusive Communities is define a number of specific limitation
and restrictions that are not included in the 2013 Rule or its Reinstatement. HUD 1s fully aware that
NAMIC has been challenging these deficiencies in the 2013 Rule in federal court since 2015; a case
in which HUD has requested and been granted dozens of stays for HUD to examine and reexamine
the 2013 rule which has remained in effect and which “HUD does not believe that deeper analysis is
needed on the impact of this rule.”

The 2013 Rule does not and has not included protections and limitations set down by the U.S.
Supreme Court in Inclusive Communities. But disparate-impact liability has always been properly
limited in key respects to avoid serious constitutional questions that might arise under the FHA, e.g.,
if such liability were imposed based solely on a showing of a statistical disparity.

A disparate-impact claim relying on a statistical disparity must fail if the plaintiff cannot point to a

defendant’s policy or policies causing that disparity. A robust causality requirement 1s important in
ensuring that defendants do not resort to the use of racial quotas.

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Policies, whether governmental or private, are not contrary to the disparate-impact requirement
unless they are “artificial, arbitrary, and unnecessary barriers.” Griggs, 401 U. S., at 431.

Without adequate safeguards at the prima facie stage, disparate-impact liability might cause race to
be used and considered in a pervasive way and “would almost inexorably lead” governmental or
private entities to use “numerical quotas,” and serious constitutional questions then could arise.
Remedial orders in disparate-impact cases should concentrate on the elimination of the offending
practice, and courts should strive to design race-neutral remedies. Remedial orders that impose racial
targets or quotas might raise difficult constitutional questions.

A plaintiff who fails to allege facts at the pleading stage or produce statistical evidence
demonstrating a causal connection cannot make out a prima facie case of disparate impact.

The limitations on disparate-impact liability discussed here are also necessary to protect potential
defendants against abusive disparate-impact claims.

Were standards for proceeding with disparate-impact suits not to incorporate at least the safeguards
discussed here, then disparate-impact liability might displace valid governmental and private
priorities, rather than solely “remov{ing] .. . artificial, arbitrary, and unnecessary barriers.”
Remedial orders in disparate-impact cases should concentrate on the elimination of the offending
practice that “arbitrar[ily] .. . operate[s] invidiously to discriminate on the basis of rac[e].” Ibid. If
additional measures are adopted, courts should strive to design them to eliminate racial disparities
through race-neutral means.

D. The Proposed Rule Burdens of Proof are Inequitably Tilted to the Charging Party

As noted, the U.S, Court has made clear that disparate impact requires adequate safeguards at the
prima facie stage. The 2013 Rule that purports to address burdens of proof do not include these
safeguards and create an unlevel playing field in favor of the charging party.

Section 2(c) of the proposed § 100.500 provides that the charging party has the burden of proving
that a challenged practice caused or predictably will cause a discriminatory effect. That section does
not set any standards for the level of proof or what can or cannot be used. This contrasts with the
requirement that the respondent or defendant then has the burden of proving that the challenged
practice is necessary to achieve one or more substantial, legitimate, nondiscriminatory interests of
the respondent or defendant, which requires a legally sufficient justification, which must be
supported by evidence and may not be hypothetical or speculative.

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By inference, the plaintiff proof need not be supported by evidence and may be hypothetical or
speculative. This means that a plaintiff may allege that the defendant’s practice will “result ina
disparate impact” without evidence, but the defendant may not provide a justification to a proposed
result that includes speculation but must provide evidence that the result cannot occur. This is clearly
in conflict with the Supreme Court ruling that “A plaintiff who fails to allege facts at the pleading
stage or produce statistical evidence demonstrating a causal connection cannot make out a prima
facie case of disparate impact.”

If the respondent or defendant satisfies that burden of proof, the charging party or plaintiff may still
prevail upon proving — without evidence and using hypotheticals or speculation - that the substantial,
legitimate, nondiscriminatory interests supporting the challenged practice could be served by another
practice that has a less discriminatory effect. Note that this standard does not require that the other
practice be equally practical or productive or have any economic limitations. There 1s no
requirement that the other practice be reasonable, simply that it has “less discriminatory effect.” It
also removes the Supreme Court’s requirement that the charging party not resort to reverse
discrimination.

E. The Proposed Rule Remedies are Concurrently Overbroad and Inadequate

Therein is another unfair burden imposed wpon the defendant. As written, the rule does not exonerate
the defendant wpon adopting this other practice. As written, the defendant is still found liable for
discrimination for an inadvertent practice and then ordered to adopt a less discriminatory practice.

And a less discriminatory practice is still a discriminatory practice that subjects the defendant to
further liability.

The purpose of such a section is properly to implement the Supreme Courts direction that “Remedial
orders in disparate-impact cases should concentrate on the elimination of the offending practice”.
The other practice should not merely reduce the level of the disparate impact — leaving the defendant
prejudged for the next allegation — but should be a replacement practice only if it actually or
judicially predictably results in the elimination of the discriminatory effect.

In the instance of an insurer, if the insurer has by non-speculative evidence proven that the practice
is necessary to achieve one or more of their substantial, legitimate, nondiscriminatory interests — and
is therefore not artificial, arbitrary, and unnecessary, then the insurer should be found not liable for
disparate impact discrimination if the insurer replaces the practice with a operational and
economically reasonable replacement practice that the court judicially determines to actually or

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predictably result in the elimination of the proposed discriminatory effect.
Conclusion

Insurer liability for any civil or criminal liability is an extremely serious matter, and for the mutual
insurance company members of NAMIC, such liability can threaten the ability of the mutual
insurance company to continue to provide the requisite protection of its collective policyholders.
Discrimination liability includes a particular toxicity in these present times and even an unsupported
allegation of such heinous conduct will do permanent and last damage to a mutual insurance
company. Mutual insurance companies are often small market companies operating in a single
county, with many specializing in niche markets such as churches, pharmacists, jewelers, and lumber
dealers. Improperly drafted regulations that encourage baseless allegations of discrimination or that
deny a innocent mutual insurance company the ability to comply or defend result in a taint that may
immeasurably harm the company and policyholders.

As NAMIC has described above and in its many prior submissions to HUD, the 2013 Rule and the
Proposed Rule are not necessary and operate to disrupt the fundamentals of the insurance business.
Existing federal, state and local laws and regulations have proven to prevent insurer discrimination
and no examples of any deficiencies in these many provisions has been offered by HUD or other
proponents of the 2013 Rule. Causing insurers to obtain and use protected class factors that are
unrelated to the principles of risk-based pricing is contrary to the business of insurance. While
perhaps well intentioned, the Reinstated Rule will be unworkable for insurers and compliance with
the convoluted and conflicting provisions will be complex, expensive, intrusive on policyholder’s
privacy and unreasonable. It conflicts with impairs and supersedes the congressional authorization of
the states to regulate the business of insurance under the McCarran-Ferguson Act and the mandate to
the states to define unfair discrimination.

The Reinstated Rule purports to include the protections and limitation set down by the U.S. Supreme
Court but 1t does not. The burdens of proof are tilted to favor the allegations and hamstring any
defense. The proposed remedies provide unreasonable latitude to revise the business of insurers
without any consideration of practicality or economics, and as written, and allow remedies that
mitigate discrimmnation, rather than eliminate discrimination as directed by the Supreme Court. In
fact, the proposed remedies enable reverse discrimination by overturning the state statutory
prohibition of unfair discrimination as that standard requires insurers to base treatment on expected
losses and costs.

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I would be most happy to address any questions you may have by contacting me at
tkarol@namic.org. Thank you for your time and consideration.

We

Thomas J. Karol
General Counsel Federal

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